Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.1 Page 1 of 24



     Todd M. Friedman (216752)
 1   Adrian R. Bacon (280332)
 2   Law Offices of Todd M. Friedman, P.C.
     21550 Oxnard Street, suite 780
 3   Woodland Hills, CA 91367
     Phone: 877-619-8966
 4   Fax: 866-633-0228
     tfriedman@toddflaw.com
 5
     abacon@toddflaw.com
 6   Attorneys for Plaintiff

 7   Attorneys for Plaintiff, RICHARD WINTERS, and all others similarly situated

 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11   RICHARD WINTERS, individually, and on        Case No. '20CV0468 BAS BGS
     behalf of other members of the general
12   public similarly situated,
                                                  CLASS ACTION COMPLAINT
13                 Plaintiff,
                                                  (1)   Violation of Unfair Competition Law
14          vs.                                         (Cal. Business & Professions Code
                                                        §§ 17500 et seq.) and
15   TWO TOWNS CIDERHOUSE INC.,                   (2)   Violation of Unfair Competition Law
                                                        (Cal. Business & Professions Code
16                 Defendant.                           §§ 17200 et seq.)

17
                                                  Jury Trial Demanded
18

19

20

21

22

23

24

25

26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.2 Page 2 of 24




 1          Plaintiff RICHARD WINTERS                           individually and on behalf of all other

 2   members of the public similarly situated, allege as follows:

 3
                                     PRELIMINARY STATEMENTS
 4
            1.      This is an action for damages, injunctive relief, and any other available legal or
 5

 6   equitable remedies, for violations of Unfair Competition Law (Cal. Business & Professions Code

 7   §§ 17500 et seq., and the Unfair Competition Law (Cal. Business & Professions Code §§ 17200
 8   et seq., resulting from the illegal actions of Defendant, in intentionally labeling its drink products
 9

10
             artificial Malic Acid. Malic Acid is a common food additive associated with tart and sour
11
     flavors. Plaintiff alleges as follows upon personal knowledge as to himself and his own acts and
12

13   experiences, and, as to all other matters, upon information and belief, including investigation

14   conducted by his attorneys.

15                                     JURISDICTION AND VENUE
16          2.      This Court has jurisdiction pursuant to 28 U.S.C. §1332(d), because the matter in
17
     controversy exceeds the sum or value of $5,000,000 exclusive of interest or costs and is a class
18
     action in which the members of the class are citizens of a State different from the Defendant.
19
            3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a
20

21   substantial part of the events giving rise to this claim occurred in this District, and Defendant does

22   business, inter alia, in the Southern District of California.

23

24

25

26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.3 Page 3 of 24




                                                   PARTIES
 1

 2          4.        Plaintiff is an individual who was at all relevant times residing in Mesa, Arizona.

 3          5.        On information and belief, Defendant is an Oregon corporation whose principal

 4   place of business is located in Corvallis, Oregon.
 5
            6.        At all times relevant hereto, Defendant was engaged in the manufacturing,
 6
     marketing, and sale of cider products.
 7
                                   FACTS COMMON TO ALL COUNTS
 8
            7.        Defendant manufactures, advertises, markets, sells, and distributes apple cider
 9

10   products throughout California and the United States under the brand name 2 Towns Cider.

11          8.
12                as containing no artificial flavors when they in fact contained artificial Malic Acid:
13
                      a.      Bright Cider;
14
                      b.      Easy Squeezy;
15
                      c.      Pacific Pineapple;
16
17                    d.      Made Marion;

18                    e.      Ginja Ninja;

19                    f.      Outcider;
20          9.        During the Class Period Plaintiff purchased many of the Products.
21
            10.                                             on November 18, 2019.
22
            11.       All of the Products contain artificial DL-Malic Acid; therefore, the apple flavors of
23

24

25                                                                                     refined sugars; NO

26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.4 Page 4 of 24




              12.   Persons, like Plaintiff herein, have an interest in purchasing products that do not
 1

 2   contain false and misleading claims with regards to the inclusion of artificial ingredients in those

 3   products.

 4            13.   By making false and misleading claims about the ingredients contained in their
 5

 6
       buy.
 7
              14.   Therefore, Plaintiff has been deprived of his legally-protected interest to obtain true
 8
     and accurate information about his consumer products as required by California and Federal law.
 9

10            15.   As a result Plaintiff has been misled into purchasing products he would not have

11   otherwise purchased.
12            16.   A flavor is a substance the function of which is to impart taste. See 21 C.F.R. §
13
     101.22(a)(1),(a)(3).
14
              17.   Taste is the combination of sensations arising from specialized receptor cells
15
     located in the mouth. Gary Reineccius, Flavor Chemistry and Technology 2nd edition, § 1.2 (2005).
16
17   Taste can be defined as sensations of sweet, sour, salty, bitter, and umami; however, limiting taste

18   to five categories suggests that taste is simple, which is not true. Id. For example, the taste of sour

19   contains the sourness of vinegar (Acetic Acid), sour milk (Lactic Acid), lemons (Citric Acid),
20   apples (Malic Acid), and wines (Tartaric Acid). Id. Each of those acids is responsible for unique
21
     sensory characteristics of sourness. Id.
22
              18.   Fruit flavors are the sum of the interaction between sugars, acids, lipids, and a blend
23
     of volatile compounds. Hui, et. al., Handbook of Fruit and Vegetable Flavors, Ch. 36 p. 693 (2010).
24

25   The content of sugars, mainly glucose and fructose, and its ratio to the content of acids, such as

26   citric and malic acid, determine the sweetness of fruits. Id.

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.5 Page 5 of 24




             19.     Malic Acid (C4H6O5) is the common name for 1-hydroxy-1, 2-ethanedicarboxylic
 1

 2   acid. Malic Acid has two isomers, or different arrangements of atoms in the molecule, L-Malic

 3   Acid, and D-Malic Acid. 21 C.F.R. § 184.1069. L-Malic Acid occurs naturally in various fruits.

 4   Id (Emphasis added). D-Malic Acid does not occur naturally. Id (emphasis added). D-Malic Acid
 5
     is most commonly found in a Racemic Mixture, DL-Malic Acid, which is commercially made
 6
     from petroleum products.
 7
             20.     An isomer is a molecule sharing the same atomic make up as another but differing
 8
     in structural arrangements. Dan Chong and Johnathan Mooney, Chirality and Stereoisomers,
 9

10   (2019).1 Stereoisomers contain different types of isomers each with distinct characteristics that

11   separate each other as different chemical entities with different chemical properties. Id.
12   Stereoisomers differ from each other by spatial arrangement, meaning different atomic particles
13
     and molecules are situated differently in any three-dimensional direction by even one degree. Id.
14
     Enantiomers are a type of stereoisomer that are mirror-images and cannot be superimposed. Id. It
15
     can be helpful to think of enantiomers as right-hand and left-hand versions of the same molecular
16
17   formula. D-Malic Acid and L-Malic Acid are enantiomers.

18           21.     The following are skeletal formulas of the enantiomers D-Malic Acid and L-Malic

19   Acid:
20

21

22

23

24

25
     1
26
     https://chem.libretexts.org/Bookshelves/Organic_Chemistry/Supplemental_Modules_(Organic_Chemistry)/Chirality
     /Chirality_and_Stereoisomers.
27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.6 Page 6 of 24




 1

 2

 3

 4

 5

 6

 7

 8                                                                                                     2


 9

10            22.       Sweetness and tartness are important contributors to the states and flavor
11   perception of fruit juices. Hui, et. al., Handbook of Fruit and Vegetable Flavors, Ch. 24 p. 455
12
     (2010). Organic acids such as Malic Acid in apples and pears, and Tartaric and Malic Acid in
13
     grapes, contribute to the tartness of the juices. Id. The sugar to acid ratio have a great impact on
14
     the perceived sweetness and tartness of fruit juices, as well as the flavor perception and balance,
15

16   and overall consumer acceptability. Id (emphasis added).

17            23.      Malic Acid is a key organic acid in the flavors of many fruits as is evidence by its

18   high concentration in those fruits. The following are charts depicting the concentration of Malic
19   Acid in the characterizing fruit flavors
20

21

22

23

24

25   2
       The only structural difference between D-Malic Acid and L-Malic Acid is that one Hydroxide (OH-) is attached to
26   each different enantiomer at a different angle. The solid cone and the dashed-line cone represent the stereochemical
     differences. Straight lines represent bonds on the same plane as the paper, solid cones represent bonds pointed towards
     the observer, and dashed-line cones represent bonds pointed away from the observer.
27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.7 Page 7 of 24




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16
17

18
                   3
19

20

21

22

23

24

25

26
     3
         Robert Walker and Franco Famiani, Horticultural Reviews, Organic Acids in Fruits, (Vol. 45, Ch. 8 2018).
27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.8 Page 8 of 24




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12
                   4
13

14

15
             24.       Adding DL-Malic Acid to a fruit juice solution containing L-Malic Acid would
16
     change the concentration of Malic Acid in the solution and the ratio of total Malic Acid to sugars
17
     in that solution.
18

19           25.       Natural sugars     glucose, fructose, and sucrose             with artificial DL-

20   Malic Acid in a ratio engineered to resemble the natural chemical combination of sugar and L-
21

22
            of those characterizing fruits. Likewise, a natural chemical combination of sugar and L-
23

24

25

26   4
      Daniel Sortwell and Anne Woo, Improving the Flavor of Fruit Products with Acidulants, p. 1 (1996),
     http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.548.4424&rep=rep1&type=pdf
27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.9 Page 9 of 24




     Malic Acid altered by adding artificial DL-Malic Acid is no longer the original chemical
 1

 2   combination of sugar and L-Malic Acid and therefore no longer the natural flavor.

 3          26.     Irrespective of the purpose Defendant claims DL-Malic Acid was added to its

 4   products, DL-Malic Acid has the same effect on the fruit flavors. Defendant does not have the
 5
     ability to command DL-Malic Acid to only perform certain functions, and Defendant should not
 6
     be allowed to decide which Malic Acid constitutes flavor and which Malic Acid constitutes only
 7
     a flavor enhancer or Ph balancer.
 8
            27.     Defendant includes DL-Malic Acid to help make its products taste more like apple.
 9

10          28.      Defendant had the option to add naturally extracted L-Malic Acid to its products,

11   or to add a naturally manufactured acid such as Citric Acid to its products, but it instead
12   intentionally used artificial DL-Malic Acid because it was likely cheaper.
13
            29.     Wine and Cider beverages containing less than 7% alcohol by volume are subject
14

15
                    CPG Sec. 510.450.
16
17          30.     The Sherman Food, Drug, and Cosmetic Act

18             regulations of the Federal Food, Drug, and Cosmetic Act. Cal. Health & Safety Code §

19   110100.
20          31.
21

22
           fruit or fruit juice, vegetable or vegetable juice, edible yeast, herb, bark, bud, root, leaf or
23

24

25      C.F.R § 101.22(a)(1).

26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.10 Page 10 of 24




             32.     DL-Malic Acid is not derived from a spice, fruit or fruit juice, vegetable or
 1

 2   vegetable juice, edible yeast, herb, bark, bud, root, leaf or similar plant material, meat, fish, poultry,

 3   eggs, dairy products, or fermentation products thereof.

 4           33.     A combination of sugar and DL-Malic Acid in a ratio resembling a fruit flavor
 5
     cannot be derived from a spice, fruit or fruit juice, vegetable or vegetable juice, edible yeast, herb,
 6
     bark, bud, root, leaf or similar plant material, meat, fish, poultry, eggs, dairy products, or
 7
     fermentation products thereof.
 8
             34.     Likewise, a combination of sugar, natural L-Malic Acid, and artificial DL-Malic
 9

10   Acid combined in a way to resemble the natural ratio of sugar and L-Malic Acid found in the

11                                                                                        fruit or fruit juice,
12   vegetable or vegetable juice, edible yeast, herb, bark, bud, root, leaf or similar plant material, meat,
13
     fish, poultry, eggs, dairy products, or fermentation products thereof.
14
             35.     A combination of sugars and artificial DL-Malic Acid engineered to resemble the
15
     natural ratio of sugars and natural L-Malic Acid that make up the natural flavor of the
16
17                                                                                                 the natural

18   flavor of the fruits in controversy is heavily dependent on a specific ratio of sugar and L-Malic

19   Acid, while Defendants flavors depend upon a ratio of sugar and DL-Malic Acid.
20           36.
21
       modify the original taste and or aroma of a food without imparting a characteristic taste or aroma
22

23
             37.     Under the FFDCA, PH balancers are
24

25

26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.11 Page 11 of 24




            38.     DL-Malic Acid under other circumstances could function as a flavor enhancer or
 1

 2   PH balancer, such as when Malic Acid is not a core component of the natural flavor of the food.

 3   For example, Malic Acid added to vinegar (Ascetic Acid) dishes like barbecue pork, coleslaw, or

 4   pickled eggs would most likely not fundamentally alter the underlying vinegar flavors.
 5
            39.     Under the circumstances in this case, artificial DL-Malic Acid fundamentally alters
 6
     the original combination of sugar and natural L-Malic Acid core to apple flavors, so that the flavor
 7
     of the Products are no longer a natural combination of sugar and L-Malic Acid but instead are an
 8
     artificial combination of sugar and DL-Malic Acid.
 9

10          40.     Under the FFDCA, a primary flavor identified on the front of a food product label

11

12          41.     The FFDCA further defines
13
              or advertising of a food [making] any direct or indirect representations with respect to
14

15
             § 101.22(i).
16
17          42.     If the food products contain any artificial flavor that simulates, resembles or

18

19

20

21
            43.     Under the SFDCA, a food is misbranded if its labeling is false or misleading in any
22
     particular, including if it contains any artificial flavoring, coloring, or chemical preservative,
23
     unless it bears labeling stating that fact. Cal. Health & Safety Code § 110660; Cal. Health & Safety
24

25   Code § 110740.

26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.12 Page 12 of 24




             44.
 1

 2       SFDCA regulations:

 3

 4

 5

 6

 7

 8

 9

10

11

12           45.                            flavors containing DL-Malic Acid resemble the natural

13   characterizing apple flavors Defendant claims are in its products.
14           46.     Plaintiff purchased               products
15
         their products do not contain artificial flavors.
16
             47.     Plaintiff would not have been able to understand that the Products contained
17
     artificial flavoring without an advanced understanding of organic chemistry and without
18

19   performing chemical analysis on the Products.

20           48.

21       Products as containing no artificial flavors, Plaintiff could not have known that the Products
22
     contained artificial flavors.
23
             49.     Plaintiff was unaware that the Products contained artificial DL-Malic Acid when
24
     he purchased them.
25

26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.13 Page 13 of 24




               50.     Plaintiff and the Class were deceived into paying money for products they did not
 1

 2   want because the Products were labeled as

 3

 4             51.     Worse than the lost money, Plaintiff, the Class, and Sub-Class were deprived of
 5
     their protected interest to choose the foods and ingredients they ingest.
 6
               52.     Plaintiff, the Class, and Sub-Class members, are not, and should not be, required to
 7
     chemically test the food products they purchase to know the true contents of those products.
 8
               53.     Defendant, and not Plaintiff, the Class, or Sub-Class, knew or should have known
 9

10

11                   and that Plaintiff, the Class, and Sub-Class members would not be able to tell the
12                                               Acid unless Defendant expressly told them, as required
13
     by law.
14
               54.     Defendant employs professional chemists or brewers to create the chemical flavor
15

16
17           known that DL-Malic Acid is not naturally occurring, and that by adding DL-Malic Acid to

18   its products the natural flavoring, if any was ever actually added to the products, would be

19   fundamentally changed.
20             55.     Defendant intentionally labeled its products as containing
21
                      or refined sugars; NO essences or artificial flavors; NO v
22
                 on consumers growing interest in high quality products. Defendant also advertises on its
23

24

25

26

27
     5
         https://2townsciderhouse.com/ourmission/quality/

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.14 Page 14 of 24




            56.     On information and belief, Defendant through its employees did know that DL-
 1

 2   Malic Acid was not naturally occurring and would fundamentally alter any natural combination of

 3   sugar and L-Malic Acid in its products, but chose to include DL-Malic Acid because it was cheaper

 4   for Defendant than using natural L-Malic Acid and because it did not believe its customers were
 5
     well educated enough to know the difference.
 6
            57.                                  acts and omissions outlined above, Plaintiff has suffered
 7
     concrete and particularized injuries and harm, which include, but are not limited to, the following:
 8
                    a.      Lost money;
 9

10                  b.

11                  c.      Stress, aggravation, frustration, loss of trust, loss of serenity, and loss of
12                          confidence in product labeling.
13
                                          CLASS ALLEGATIONS
14
            58.      Plaintiff brings this action on behalf of himself and all others similarly situated, as
15

16
17                  All persons within the United States who purchased the Products
                    within four years prior to the filing of this Complaint.
18
            59.     Plaintiff also brings this action on behalf of himself and all others similarly situated,
19
     as a member of the proposed sub-
20

21                  All persons who purchased the Products within California within
                    four years prior to the filing of this Complaint.
22
            60.     Defendants, their employees and agents are excluded from the Class and Sub-Class.
23
     Plaintiff does not know the number of members in the Class and Sub-Class, but believes the
24

25   members number in the thousands, if not more. Thus, this matter should be certified as a Class

26   Action to assist in the expeditious litigation of the matter.

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.15 Page 15 of 24




            61.     The Class and Sub-Class are so numerous that the individual joinder of all of their
 1

 2   members is impractical. While the exact number and identities of their members are unknown to

 3   Plaintiff at this time and can only be ascertained through appropriate discovery, Plaintiff is

 4   informed and believes and thereon alleges that the Class and Sub-Class include thousands, if not
 5
     millions of members. Plaintiff alleges that the class members may be ascertained by the records
 6
     maintained by Defendant.
 7
            62.     This suit is properly maintainable as a class action pursuant to Fed. R. Civ. P. 23(a)
 8
     because the Class and Sub-Class are so numerous that joinder of their members is impractical and
 9

10   the disposition of their claims in the Class Action will provide substantial benefits both to the

11   parties and the Court.
12          63.     There are questions of law and fact common to the Class affecting the parties to be
13
     represented. The questions of law and fact common to the Class predominate over questions which
14
     may affect individual class members and include, but are not necessarily limited to, the following:
15
                    a.        Whether    the   Defendant    intentionally,   negligently,   or   recklessly
16
17                            disseminated false and misleading information by including the statement

18

19

20                  b.        Whether the Class and Sub-Class members were informed of the artificial
21
                              nature of the ingredients in the Products;
22
                    c.        Whether the Products contain artificial flavoring;
23
                    d.
24

25                  e.        Whether Defendant unjustly enriched itself as a result of the unlawful

26                            conduct alleged above;

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.16 Page 16 of 24




                    f.      Whether the statement
 1

 2

 3                          misleading or false;

 4                  g.      Whether there should be a tolling of the statute of limitations; and
 5
                    h.      Whether the Class and Sub-Class are entitled to restitution, actual damages,
 6
                            punitive damages, and attorney fees and costs.
 7
            64.     As a resident of the United States and the State of California who purchased the
 8
     Products, Plaintiff is asserting claims that are typical of the Class and Sub-Class.
 9

10          65.     Plaintiff has no interests adverse or antagonistic to the interests of the other

11   members of the Class and Sub-Class.
12          66.     Plaintiff will fairly and adequately protect the interests of the members of the Class
13
     and Sub-Class. Plaintiff has retained attorneys experienced in the prosecution of class actions.
14
            67.     A class action is superior to other available methods of fair and efficient
15
     adjudication of this controversy, since individual litigation of the claims of all Class and Sub-Class
16
17   members is impracticable. Even if every Class and Sub-Class member could afford individual

18   litigation, the court system could not. It would be unduly burdensome to the courts in which

19   individual litigation of numerous issues would proceed. Individualized litigation would also
20   present the potential for varying, inconsistent or contradictory judgments and would magnify the
21
     delay and expense to all parties, and to the court system, resulting from multiple trials of the same
22
     complex factual issues. By contrast, the conduct of this action as a class action presents fewer
23
     management difficulties, conserves the resources of the parties and of the court system and protects
24

25   the rights of each class member. Class treatment will also permit the adjudication of relatively

26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.17 Page 17 of 24




     small claims by many class members who could not otherwise afford to seek legal redress for the
 1

 2   wrongs complained of herein.

 3           68.      The prosecution of separate actions by individual members of the Class and Sub-

 4   Class would create a risk of adjudications with respect to them that would, as a practical matter,
 5
     be dispositive of the interests of the other class members not parties to such adjudications or that
 6
     would substantially impair or impede the ability of such non-party class members to protect their
 7
     interests.
 8
             69.
 9

10                members, because all claims and injuries of all class and sub-class members are based

11   on the same false labeling, same addition of DL-Malic Acid to apple flavored products, and same
12   legal theory. All allegations arise from the identical, false, affirmative written statements made by
13
     Defendants when they claimed the Products contained
14
             sugars; NO essences or artificial flavors; NO velcorin or sorbate,              in reality the
15
     Products contained a combination of sugars and artificial DL-Malic Acid engineered to resemble
16
17   the natural ratio of sugars and natural L-Malic Acid of the apple flavors in controversy.

18           70.      Defendants have acted or refused to act in respect generally applicable to the Class

19   and Sub-Class thereby making appropriate final and injunctive relief with regard to the members
20   of the Class and Sub-Class as a whole.
21
             71.      The size and definition of the Class and Sub-Class can be identified through records
22

23
                                        FIRST CAUSE OF ACTION
24                            Violation of the California False Advertising Act
25                                (Cal. Bus. & Prof. Code §§ 17500 et seq.)
             72.      Plaintiff incorporates by reference each allegation set forth above.
26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.18 Page 18 of 24




 1          73.       Pursuant to California Business and Professions Code section 17500, et seq., it is

 2

 3      the exercise of reasonable care should be known, to be untrue or misleading...or...to so make

 4   or disseminate or cause to be so made or disseminated any such statement as part of a plan or

 5   scheme with the intent not to sell that personal property or those services, professional or

 6   otherwise, so advertised at the price stated there

 7          74.       California Business and Professions Code section 17500, et seq

 8           false advertising extends to the use of false or misleading written statements.

 9          75.       Defendant misled consumers by making misrepresentations and untrue statements

10   about the Class Products, namely, Defendant sold the Products advertised to have

11                NO concentrates or refined sugars; NO essences or artificial flavors; NO velcorin or

12            fully knowing the Products contained D-Malic Acid, and made false representations to

13   Plaintiff and other putative class members in order to solicit these transactions.

14          76.       Specifically, Defendant wrote on the packages of these Products that they

15   contained                         NO concentrates or refined sugars; NO essences or artificial

16
17          77.       Defendant knew that their representations and omissions were untrue and

18   misleading, and deliberately made the aforementioned representations and omissions in order to

19   deceive reasonable consumers like Plaintiff and other Class Members.

20          78.

21            and the other Class Members have suffered injury in fact and have lost money or

22                                                              representations regarding the Products,

23   namely that

24                     Plaintiff and other Class Members purchased the Products. In turn Plaintiff and

25   other Class Members ended up with cider products that turned out to actually be different than

26   advertised, and therefore Plaintiff and other Class Members have suffered injury in fact.

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.19 Page 19 of 24




 1          79.     Plaintiff alleges that these false and misleading written representations made by

 2                                    with the intent not to sell that personal property or those services,

 3   professional or otherwise, so advertised at the price stated therein, or as so advert

 4          80.     Defendant advertised to Plaintiff and other putative class members, through

 5   written representations and omissions made by Defendant and its employees, that the Class

 6   Products would contain                         NO concentrates or refined sugars; NO essences or

 7

 8          81.     Defendant knew that the Class Products did in fact contain D-Malic Acid.

 9          82.     Thus, Defendant knowingly sold Class Products to Plaintiff and other putative

10   class members that contained artificial flavors contrary to the Products packaging.

11          83.     The misleading and false advertising described herein presents a continuing threat

12   to Plaintiff and the Class Members in that Defendant persists and continues to engage in these

13   practices and wi

14            will continue to cause irreparable injury to consumers unless enjoined or restrained.

15   Plaintiff is entitled to preliminary and permanent injunctive relief ordering Defendant to cease

16   their false advertising, as well as disgorgement and restitution to Plaintiff and all Class Members

17

18     the Court may find equitable.
                                  SECOND CAUSE OF ACTION
19                           Violation of Unfair Business Practices Act
20                            (Cal. Bus. & Prof. Code §§ 17200 et seq.)
            84.     Plaintiff incorporates by reference each allegation set forth above.
21
            85.     Actions for relief under the unfair competition law may be based on any business
22
     act or practice that is within the broad definition of the UCL. Such violations of the UCL occur
23
     as a result of unlawful, unfair or fraudulent business acts and practices. A plaintiff is required
24
     to provide evidence of a causal connection between a defendant's business practices and the
25
     alleged harm--that is, evidence that the defendant's conduct caused or was likely to cause
26

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.20 Page 20 of 24




 1   substantial injury. It is insufficient for a plaintiff to show merely that the defendant's conduct

 2   created a risk of harm. Furthermore, the "act or practice" aspect of the statutory definition of

 3   unfair competition covers any single act of misconduct, as well as ongoing misconduct.

 4                                                   UNFAIR

 5            86.

 6      or

 7

 8             is substantially injurious to consumers, offends public policy, and is immoral, unethical,

 9   oppressive, and unscrupulous as the gravity of the conduct outweighs any alleged benefits

10

11                  business interests, other than the conduct described herein. Plaintiff reserves the right

12   to allege further conduct which constitutes other unfair business acts or practices. Such conduct

13   is ongoing and continues to this date.

14            87.                                                             consumer must show that the

15   injury: (1) is substantial; (2) is not outweighed by any countervailing benefits to consumers or

16   competition; and, (3) is not one that consumers themselves could reasonably have avoided.

17            88.                                                     continues to cause substantial injury

18   to Plaintiff and members of the Class. Plaintiff and members of the Class have suffered injury

19                                                                        cider products (Class Products).

20                                       caused substantial injury to Plaintiff and the members of the Sub-

21   Class.

22            89.

23                  no benefit of any kind to any consumer. Such deception utilized by Defendant

24   convinced Plaintiff and members of the Class that the Class Products

25              in order to induce them to spend money on said Class Products. In fact, knowing that

26   Class Products, by their objective terms contained artificial flavors, unfairly profited from their

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.21 Page 21 of 24




 1   sale, in that Defendant knew that the expected benefit that Plaintiff would receive from this

 2   feature is nonexistent, when this is typically never the case in situations involving flavors said

 3   to be contained with a product. Thus, the injury suffered by Plaintiff and the members of the

 4   Sub-Class is not outweighed by any countervailing benefits to consumers.

 5             90.    Finally, the injury suffered by Plaintiff and members of the Class and Sub-Class

 6   is not an injury that these consumers could reasonably have avoided. After Defendant, falsely

 7   represented that Class Products would                                          the Plaintiff, Class

 8   members, and Sub-Class Members

 9               to them. Defendant failed to take reasonable steps to inform Plaintiff and class

10   members that the Class Products contained artificial flavors, including intentionally misbranding

11   the Products by labeling them as containing                            NO concentrates or refined

12   sugar                                                                     As such, Defendant took

13

14               to purchase drink products containing artificial flavors. Therefore, the injury suffered

15   by Plaintiff and members of the Class is not an injury which these consumers could reasonably

16   have avoided.

17             91.

18               & Professions Code § 17200.

19                                             FRAUDULENT

20             92.

21

22               must allege that the fraudulent business practice was likely to deceive members of the

23   public.

24             93.

25     17200 is whether the public is likely to be deceived. Unlike common law fraud, a § 17200

26   violation can be established even if no one was actually deceived, relied upon the fraudulent

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.22 Page 22 of 24




 1   practice, or sustained any damage.

 2          94.    Here, not only were Plaintiff and the Class members likely to be deceived, but

 3   these consumers were actually deceived by Defendant. Such deception is evidenced by the fact

 4   that Plaintiff agreed to purchase Class Products under the basic assumption that they contained

 5                                though the Products contained DL-Malic Acid

 6

 7

 8           would deceive other members of the public.

 9          95.    As explained above, Defendant deceived Plaintiff and other Class Members by

10   representing the Class Products as contai

11             DL-Malic Acid.

12          96.

13            & Professions Code § 17200.

14                                           UNLAWFUL

15          97.    California Business and Professions Code Section 17200, et seq

16
17          98.    As explained above, Defendant deceived Plaintiff and other Class Members by

18   representing the Class Products as containing                      NO concentrates or refined

19   sugars; NO essences or artifici                                   when the Products contained

20   DL-Malic Acid.

21          99.    Defendant used false advertising, marketing, and misrepresentations to induce

22   Plaintiff and Class Members to purchase the Class Products, in violation of California Business

23   and Professions Code Section 17500, et seq. Had Defendant not falsely advertised, marketed or

24   misrepresented the Class Products, Plaintiff and Class Members would not have purchased the

25                                                                                economic harm to

26   Plaintiff and Class Members.

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.23 Page 23 of 24




 1           100.

 2      act under Business and Professions Code Section 17200 et seq.

 3           101.    Defendant has thus engaged in unlawful, unfair, and fraudulent business acts

 4   entitling Plaintiff and Class Members to judgment and equitable relief against Defendant, as set

 5   forth in the Prayer for Relief.        Additionally, pursuant to Business and Professions Code

 6   section 17203, Plaintiff and Class Members seek an order requiring Defendant to immediately

 7   cease such acts of unlawful, unfair, and fraudulent business practices and requiring Defendant

 8   to correct its actions.

 9                                            MISCELLANEOUS

10           102.    Plaintiff and Class Members allege that they have fully complied with all

11   contractual and other legal obligations and fully complied with all conditions precedent to

12   bringing this action or all such obligations or conditions are excused.

13                                       REQUEST FOR JURY TRIAL

14           103.    Plaintiff requests a trial by jury as to all claims so triable.

15                                          PRAYER FOR RELIEF

16           104.    Plaintiff, on behalf of herself and the Class, requests the following relief:

17                   (a)       An order certifying the Class and appointing Plaintiff as Representative of

18                             the Class;

19                   (a)       An order certifying the undersigned counsel as Class Counsel;

20                   (b)       An order requiring TWO TOWNS CIDER HOUSE, INC., at its own cost,

21                             to notify all Class Members of the unlawful and deceptive conduct herein;

22                   (c)       An order requiring TWO TOWNS CIDER HOUSE, INC., to engage in

23                             corrective advertising regarding the conduct discussed above;

24                   (d)       Full restitution of all funds acquired from Plaintiff and Class Members

25                             from the sale of misbranded Class Products during the relevant class

26                             period;

27

28
     Case 3:20-cv-00468-BAS-BGS Document 1 Filed 03/12/20 PageID.24 Page 24 of 24




 1               (e)    Punitive damages, as allowable, in an amount determined by the Court or

 2                      jury;

 3               (f)    Any and all statutory enhanced damages;

 4               (g)

 5

 6               (h)    Pre- and post-judgment interest; and

 7               (i)    All other relief, general or special, legal and equitable, to which Plaintiff

 8                      and Class Members may be justly entitled as deemed by the Court.

 9
     Dated: March 12, 2020             Respectfully submitted,
10

11                                     LAW OFFICES OF TODD M. FRIEDMAN , PC

12
                                            By: /s Todd. M. Friedman
13                                               TODD M. FRIEDMAN, ESQ.
14                                               Attorney for Plaintiff Richard Winters
15

16
17

18

19

20

21

22

23

24

25

26

27

28
